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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

VERITASEUM CAPITAL, LLC,                      )
                                              )
       Plaintiff,                             )
                                              )         C.A. No. 22-1253(MN)
       v.                                     )
                                              )
COINBASE GLOBAL, INC.,                        )
                                              )
       Defendant.                             )

                              PLAINTIFF’S UNOPPOSED
                          MOTION FOR STAY OF PROCEEDINGS

       Plaintiff Veritaseum Capital, LLC, hereby requests a sixty (60) day stay of the

proceedings in this matter for the following reasons.

       1. This is a patent infringement case. The defendant Coinbase Global, Inc. (“defendant”)

has filed a motion to dismiss which has been fully briefed and remains pending. (D.I. 10). On

February 16, 2023, the Court entered an order on the docket directing the parties to submit a

scheduling order within 30 days. (D.I. 24).

       2. Plaintiff’s lead counsel, Carl I. Brundidge, Esquire died on February 10, 2023.

https://www.briscoe-tonicfuneralhome.com/obituaries/carl-irwin-brundidge/. Undersigned

counsel did not learn of Mr. Brundidge’s passing until March 3, 2023. The plaintiff requests a

sixty (60) day stay of all proceedings in the case so that it can hire new lead counsel and to give

time for new counsel to get up to speed with the case.

       3. The defendant has authorized the undersigned to represent to the Court that the

defendant does not oppose this request.




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                                   FERRY JOSEPH, P.A.

                                   /s/Rick S. Miller
                                   Rick S. Miller (#3418)
                                   1521 Concord Pike, Suite 202
                                   Wilmington DE 19803
                                   (302) 575-1555
                                   Rmiller@ferryjoseph.com

                                   Attorneys for Plaintiff
Dated: March 6, 2023




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